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                 EXHIBIT B
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    Class Members Who Will Not Release Their Emotional Distress Damages Claims*

   1. ERIC COLEMAN

   2. ROBERT HEINLE

   3. JIHAN JAMAL

   4. GERTRUDE JONES

   5. GARY KELLY

   6. KARI KRZYWOSINSKI

   7. REGINA LARZELERE

   8. JAMES MCGINLEY

   9. SAM MCGIVERON

   10. DENNIS NIEDENS

   11. LILIA PAVON

   12. HELEN PHILIPS

   13. KENNIE SMITH

   14. DINO TAMBINI

   15. DAVID VANCE

   16. GENEVA WILLIAMS

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*to the extent any such claims are allowed under applicable law.
